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EXHlBlT A

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Lumeett emmett
Suheontractor Agreement / Scope of Werk

This agreement between 84 Lumber Company “Suhoenlmctor” or “8'4” and Gregory Mortlmer
“Coniractor" made this 8th day Of A;nil, 2008 for installation Servioes in oonneelien with

products sold by 841/timber Company.

’I’hese terms and eendilions shall apply to the following Prciject;

llimberlzzke Villaga Building 10

Com:ract opm for the above teferenecd project

$'170, 000.01

,Projeet Stmt Da£e: Completioh Date:

Worlc will be perfonneci per prints dated.:

Genersl Conditiene:

1.

T.he Subemii;t“dctur. shall furnish all lahor, materiel, equipment taxes, insurance dues,
contributions,- services and ali other inoidentais, including but not limited to, competent
supervisich and mole as are necessary for proper performance of the Suheonh~det work
desm'ibecl m this agreement sh*ictly` m accordance with the Subcont:cact documents Ali

woa'ic performed will he per print and manufacturer specifications
All construction on 84 Lumber jobsites will meet or exceed local building codes

All trash and building debris will he removed to a dumpster or area designated by the
Con.tractoi

Contraetor will provide 21 new set of plans for each house
Sul:)eouttoetor’s work will pass all required inspections

’l`ho Subeontraetor and Coutraotor will walk the job together and perform a final
inspection oftho work

Suheontracter will complete ali punch list items provided at ilan walicthrough.

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8. Any changes to this scope of work or materials selected shall be done through an
spproved change order and signed by both parties

9. Any local variations of codes and local inspectors phone number most he supplied by
contractor before work will start

lO. 84 will only install items that it supplies

ll. Contreotor is responsible for providing electricity portable toilets and a trash receptacle
at thejobsite for the Sobcouttsctor to use while completing this scope of worlr.

l.'Z. Conf:raetor shall only communicate with 84 Lumber’s `site superintendent and not give
instructions or orders directly to 84’s laborers or Sul)oonn‘actors.

13. Contrector is responsible for coordination of the site, sohcduic, materials storage end

other trades world

14, C'ontrnotor hereby acknowledges and agrees that 84 Lurnber Compeny’s (“84”)
Contractor~Commeroiel Creclit Agreement temts end conditions (the “Credit
Agceemen€’) (a copy of which Contraetor hereby acknowledges xeoeiviug) are
incorporated herein by reference and made part hereto

'15. 84 guarantees that the Work. performed hereunder will conform to the specifications
complies with all Laws, end will be free from defects in workmanship and materials
B4’s liability hereunder shell "bc limited to the extent of 84’s negligence and 84’3
obligations hereunder shall be limited et 84’3 sole election, to the repair or replacement
of any detbcilve or nonconforming Worlr. Contractor hether agrees that in no event shall
84 be liable or responsible for any consequential indirect exemplary or punitive
damages of any type in connection with any claim under this paragraph 'I'his guarantee
will commence upon commencement of the Worlr and will continue for a period of one
(l) years from the date of sole with respect to defects in non-structural and structural
materials sold by 84. BXCEPT AS BXPRESSLY PROVDJED AB()VE, 84 MAKES NO
O'I‘HER WARRANTY OF ANY IC[ND WATSQBVER, EXPRESS CJR MPLIE';D,
AND ALL I‘MPLIED WARRANTIES CF MJRCHANTABIMTY AND FII‘NBSS FGR
A PART.[CULAR l-"URPOSE WHICH BXCEHD THE AFORESA]D OBLIGA'I‘ION
ARE I~IERBBY DISCLAIME]`,) BY 84 A.ND EXCLUDED FRC)M Tl-HS AGREEMENT.

16. 34 and its subcontractors attitude no liability and do not warrant any installation or
product against mold growth, mold related problems or any other toxic torts. Contraotor
agnes to hold harmless and release 84 audits subcontractors from any such claims

17. 84’s obligations under this contract ore subject to force meieure.

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Spccific Roqnircments:

It‘rmnipg:
I. aniing and sheathtng members shall be fastened according no code and manufacturers
instructions

2. Notching, drilling, and cutting of framing members shall be done so as to not
compromise the structural integrity of the projectl

3. ’l."he Subcontractcr is responsible for ensuring that the house is named per plan with all
dimensions correct work phnnb, square and of the highest quality.

4. Flonr trusses shall be installed per the manufacturer’s layout

5 . Ploor sheathing shall bo level and securely attached to supports to provide an adequate
base to receive finish flooring and fasteners

6. Sill senior insulation shall be handled per the plnns, and be visible for inspections

7 . The Contractor is responsible for insuring that the anchor bolts are set into the foundation
properly. The Subconn‘acn>r is responsible for boring the necessary holes to accommodate
thc anchor bolts and installing the washers and nuts.

8. Smdding and other supports shall be adequately sized and spaced 'Wsll sheathjng shall be
smooth, securely attached to supports, and shall provide an adequate base to receive

aiding and fasteners
9. All exterior corner walls shall be braced using the method specified in the plans.

10. All nails arc to be donly set, No bent nails shall protrude into or onto any area that will
receive door cnaings, dlywall, or other types of finish.

11. All firestops shall be installed per code (ohimney chascs, under luhtz, around showers,
eto.). '

12. Extorlor sheathing shall be installed according to mannfaotnrer’s instructions No broken
pieces of shoathlng shall be left in plaoo.

13. Aecess holes cr disappearing stairs shall be framed according to plan,

14. All window and door openings shall be level, plumb, square, and built to the correct
rough cpening size as specified by the mannfacturcr. Window and door handlers shall

conform to code requirements and installed crown up.
15. Rcof transco and Truss bracing shall be installed per the manufacturct’s layont,
16, Roof sheathlng shall be smooth, securely attached to supports and shall provide an

adequate base to resolve roofing nails and fasteners

3

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' 17. All temporary bracing, except safety bmcing, shall be removed at the completion of the

framing

_ 18. The project will pass the framing inspeotiou.
’I‘I.‘eafed l)ecks:

 

1.
2.

9.

Decking and Sllpport mombors will be fastened according to code and mnuut‘aoturer’s insmotions.

Notcbing, drilling, and cutting of support members sball'be done so as to not compromise the
sb'uotm‘al integrity of the projeot.

The Suhooolraclor is responsible for ensuring that the deok, landings, stalrs, railings and hanomls
are built pet plan with all dimensions correct work phm:\l), squme, and o'l’ the highest quality.

All temporary bracing than be zemoved at the completion ofthe work.

All work shall moot or exoeed looul. state or national safety standards for dcoks, deck landings,
and deck -‘zfalt‘$l. Tho Suboontraotor shall follow all OSHA safety requirements including tho use
of Soaiitblding, handrailf=' on soaftb]ding, eto,

AH work shell be performed by trained and experienced personnel.

De<:klng matorial that has exoessive splits (light visible thmugh splits or splits that penetrate more
than half ofthe bound) shall not be used

Declo'ng material that is warned twisted or otherwise more than 1/4 web out ot`level shall not bo
used

No nall ot screw heads shall prouude item the wood lileolc'iugL

10. Deoloz must be secured to the house as descn't)od in the plolls.

1 I. All handrails must be tight and timker with no givo, shaking, or movement

1 2. All pickets shall be attached securon without splitting.

Windows & Dooro: _

 

l.

Suboontraotor will install all windows and doors as specified on tho plans.

2. Contrt\ctor s_pociHcally txng that Subcontmeto).~ will install windows in accordance with 34

3.

4.

Lmvb€.r’$ Window IHSfellaliOn Monoal, a copy ot` which Cootraotor aolmowledges‘ receiving
and which is incoqj)otnted heroin by rofe).‘enoe.

Suboontmotor will veofy that all openings have been checked and dimensions eto correct If
any framed opening is not oolrootly oized, out of squar:o, or not levol, and the Subconttaotor .
cannot ezoin correct the problem the Contmetot' will be immediately notified So that

corrections can be mode

All windows and doors shall be installed so that they are plumb, level, and square in tho
framed opening. `

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5. Winrlows and doors will lock correctly and operate smoollily.

6. Door swings will be coneot.

7. Bxl'ex:ior door warpage of more then 1/4 inch measuxed diagonally nom corner to comer
is unacceptable

E. Weather stripping, insulation and waterproofing shall be installed per tlie manufacturers
requirements Aii' leakage is unacceptable end must be ooneeted.

9. Screens shall be installed on windows and any doors requiring screens prior to die
homeowners walletlnongh.

Rooijilg:
l. The Snbsontractor will use QSHA-nppn)vcd ladde:ns and safety measures for securing
workers to the mof.

2. Rnoflng,shn]l he applied when the roof decking ls clean and dly. Thc-> Contraolni' will be
. notified`lt' there ere warned deck boards or any other unacceptable oondltlons, ss
consensus can be msde.

3. Felt nnderlaymeni' shall be installed over the entire l‘oof.

4~. Shingles will be secured using the correct number and size fasteners properly located on
the shingle per the manufacturers speci£eetions.

` 5. All shingles shall be applied true and straight

91

All shingles shall be blind fastened with all fnstonels llllly eovered. Any neil holes shall
be completer soaled.

7. Valleys are to be constructed by centennig valley metal flashing over the nnderlaymeni,
seeming with approved shingle fasteners7 and covernig wth shingles

8. All ohimneys shall be ilashed.
9. Roof vents will be installed per plane

Sirling & Extsrio§ Trim:

l. Inslell sliding and exielioi‘ trim ns selected by the Conn'nntor that is listed in 84 Lmnber’s

material eslimale,

2. All siding shall be installed nez the installation instinctlons using the faswners and
fastening procedures required by the manufaetmer.

3. All siding shall be level, straight and parallel

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All siding Will be attached securely.

Sidil‘lg Will `bb‘ iUSfSHCd Ovel‘ €>Xl`o.iior shooting Sldlng Wi'll not be attached to any broken
or badly damaged pieces `of shooting

Any siding that is craslcecl, split, or broken dining installation must be removed and
replaoed. No broken, split, or cracked siding boards shall be on the house at the

completion of the job.

Fasoia, rake boards, and soth material should not be installed ifsplit, broken, gonged, or
nioked, or if it conniins largo lcnots, holes or is badly maehinecl.

theiior ttiIn, including any porch columns and failings should not he installed if split

` broken or gouged, or ifit contains large knots or holes. No exterior trim of poor

9.

appearance Will be used

Exterlor him shall be tightly secured to framing members and shall be straight, level, and
plumb,

10. All inside and outside corners and whitlow and door openings shall be trimmed out per

plan.

ll. Garago door jambs shall bo completed to the size oi' the gmage door as shown on die

Plans.

12. Garage doorjambs shall be square, level, plnmb, and straight

 

 

 

Agxeed to and accepted by:

Gregory 84 Lumber Company

blame blamon
Print .Piiiut e “_;,_
TIHB__Q,LM;,,¢§______,__W_M 'l`ltle P£ggt“: of @J/$M&JM_/\
Dsf@~‘z':o!;¢!§_ Daf@M

